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EXHIBIT "F"
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                                                                                                                   Micron    Stimwave
                                                                                               No. of       No. of  Member % %
Member                                Address                                                 Class A     Class B/C Interest Interest Difference

Laura Perryman                        1520 Alton Rd., Suite 417, Miami Beach, FL 33139        2,111,111     447,000     32.60%   22.30%   -10.30%
                                      Vistra Corp Services, Wickhams Cay II, Rd Town,
Echo Vibration Limited                Tortola,
                                      1310 ParkVG1110,
                                                 CentralBVI
                                                          Blvd S, Pompano Beach,FL             741,871                   9.45%   7.80%     -1.65%
Stimwave Technologies                 33064                                                                 372,495      4.75%
Life Science Angels VIII, LLC         1230 Bordeaux Drive, Sunnyvale CA 94089                  311,292                   3.97%   4.70%      0.73%
Emergent MD Holdings, Inc.            205 South Drive, Suite 2, Mountain View CA 94040         268,868                   3.43%   2.20%     -1.23%
Robert K. Anderson                    7262 Old Post Road, Boulder CO 80301                     243,569                   3.10%   2.60%     -0.50%
Yeung Family Trust                    5448 E
                                      5239  E.Paradise
                                               Valle Vista Road,Rd,
                                                        Canyon    Phoenix AZ 85018
                                                                     Paradise Valley AZ        204,837                   2.61%   2.20%     -0.41%
Stephen Hochschuler, MD               85253                                                    186,047                   2.37%   2.00%     -0.37%
BioAccel                              4602 N 16th Street #300, Phoenix, AZ 85016               174,294                   2.22%   0.80%     -1.42%
Stuart Essig
Research  Corporation Technologies,   311 Enterprise Drive, Plainsboro NJ 08536                158,872                   2.02%   1.70%     -0.32%
Inc.                                  6440 N Swan Road, Suite 200, Tucson, AZ 85718            152,913                   1.95%   1.60%     -0.35%
Taube Investment Partners, LP         1050 Ralston Ave., Belmont CA 94002                      120,000                   1.53%   1.60%      0.07%
Yuan Family Trust                     3692 Nelson's Walk, Naples FL 34102                      111,628                   1.42%   1.10%     -0.32%
Wilmington Investor Network, LLC      1802 South Churchill Drive, Wilmington NC 28403          108,333                   1.38%   1.10%     -0.28%
David Auth                            490 S. Beach Road, Hobe Sound, FL 33455                  107,712                   1.37%   1.10%     -0.27%
Nancy L. Auth                         490 S. Beach Road, Hobe Sound, FL 33455                  107,712                   1.37%   1.10%     -0.27%
NeuroStim LLC                         100 SE 2nd St, 44th Floor, Miami, FL 33131               100,000                   1.27%   1.10%     -0.17%
Tatyana Shine North                   5051 Greenspring Ave, Baltimore MD 21209                  86,169                   1.10%   1.30%      0.20%
Robert Green                          7600 Wisconsin Ave, Suite 900, Bethesda MD                80,305                   1.02%   1.00%     -0.02%

Jacobson Family Trust                 5525 E Lincoln Dr., #112, Paradise Valley AZ 85253        72,171                   0.92%   0.80%     -0.12%
Patrick Larson                        19849 Villa Medici Place, Boca Raton, FL 33434            70,000      372,500      5.64%   1.20%     -4.44%
Ralph Rashbaum 5X5 Trust              6020 W. Parker Road, Suite 200, Plano TX 75093            69,947                   0.89%   0.20%     -0.69%
Zuckerman Investments, LLC            75 Thomas Johnson Dr, #C, Frederick MD 21702              64,102                   0.82%   0.70%     -0.12%
Marc Loev, MD                         13609
                                      450   Canal Vista
                                          Broadway       Court,
                                                    Street, MC Potomac   MD 20854
                                                                6342, Redwood   City CA         64,102                   0.82%   0.70%     -0.12%
David Mohler, MD                      94063                                                     60,000                   0.76%   0.60%     -0.16%
Sunil Panchal, MD                     4911 Van Dyke Road, Lutz FL 33558                         60,000                   0.76%   0.60%     -0.16%
Chad Andersen                         3013 Oaktree Lane, Hollywood, FL 33021                    50,000       74,500      1.59%   0.50%     -1.09%
Aneesh Singla, MD                     5501 Lincoln St., Bethesda MD 20817                       48,868                   0.62%   0.50%     -0.12%

Richard Weiner, MD                    8230 Walnut Hill Lane, Suite 220, Dallas TX 75231          45,000                  0.57%   0.20%     -0.37%
WS Investment Company, LLC            650 Page Mill Road, Palo Alto CA 94304                     44,798                  0.57%   0.20%     -0.37%
Thomas Haider, MD                     PO Box 8910, Rancho Santa Fe, Ca 92067                     43,084                  0.55%   0.50%     -0.05%
Ali El-Mohandes, MD                   11248 Eastwood Dr, Hagerstown MD 21742                     42,735                  0.54%   0.50%     -0.04%
Mark Hungerford, MD                   301 Saint Paul St, Baltimore MD 21202                      41,367                  0.53%   0.50%     -0.03%
Todd Lanman, MD                       2812 Paseo Del Mar, Palos Verdes Estates CA 90274          40,000                  0.51%   0.40%     -0.11%
Mark Coleman, MD                      10 Chris Eliot Court, Cockeysville MD 21030                37,000                  0.47%   0.40%     -0.07%
Akhil Jay Khanna, MD                  6420 Rockledge Dr, #220, Bethesda MD 20817                 31,367                  0.40%   0.40%      0.00%
Amir H. Fayyazi, MD                   234 Kristin Lane, Allentown PA 18104                       29,049                  0.37%   0.30%     -0.07%
Michael Daly, MD                      14548 Edgewoods Way, Glenelg, MD 21737                     25,641                  0.33%   0.30%     -0.03%
Andrej Simeunovic                     9850 North 73rd Street, #2059, Scottsdale AZ 85258         25,000                  0.32%   0.10%     -0.22%
Gary King, PhD                        1319 Hillcrest Drive NE, Fridley MN 55432                  25,000                  0.32%   0.20%     -0.12%
Elizabeth Greene                      2637 NW 49th Street, Boca Raton, FL 33434                  25,000                  0.32%   0.50%      0.18%
Abdul Shaheed Soudan, MD              304 Kerneway, Baltimore MD 21212                           21,094                  0.27%   0.20%     -0.07%
RRG #1 FLP                            6020 W Parker Rd, #200, Plano TX 75093                     20,781                  0.26%   0.20%     -0.06%
WJZ Family Partners, Ltd.             5612 Stone Cliff Court, Dallas TX 75287                    20,781                  0.26%   0.20%     -0.06%
James J. Yue, MD                                                                                 20,605                  0.26%   0.30%      0.04%
Ajay Panchal                                                                                     20,000                  0.25%   0.20%     -0.05%
David Maine, MD                       6915 Granite Ridge Ct. Baltimore, MD 21209                 15,000                  0.19%   0.20%      0.01%
Graham Family Investments LLC         3584 Trout Lake Rd., Arbor Vitae WI 54568                  13,298                  0.17%   0.20%      0.03%
Shauket Sherali                       PO Box 341482, Los Angeles CA 90034                       12,205                   0.16%   0.10%     -0.06%
J. Casey McGlynn                      650 Page Mill Road, Palo Alto CA 94304                     10,771                  0.14%   0.10%     -0.04%
Eric Boyd, MD                         6309 E Baywood Avenue, Mesa AZ 85206                       10,000                  0.13%   0.10%     -0.03%
Carey-Walter Closson, MD              5200 Swilcan
                                      4533 Harvey Lane,
                                                    BridgeEllicott City MD
                                                           Lane North,     21043
                                                                         Jacksonville FL          8,547                  0.11%   0.10%     -0.01%
Ali Chahlavi                          32224                                                       8,000                  0.10%   0.10%      0.00%
Usha Singla                           9117 Bowling Green Dr., Frederick MD 21704                  5,000                  0.06%
Anish Sharad Patel, MD                14548 Edgewoods Way, Glenelg, MD 21737                      4,273                  0.05%
                                                                                              6,580,119   1,266,495       100%     70%      -26%
